                 Case 1:23-cv-00703-JMC Document 13 Filed 05/05/23 Page 1 of 1



                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND
John Dixon                                              *
      Plaintiff,
                                                        *
      v.                                                               Case No.
                                                                                  1:23-cv-00703-JMC
                                                        *
LGX Services LLC
      Defendant.                                        *

                                   ENTRY OF APPEARANCE IN A CIVIL CASE

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:
                                                                 Defendant
             Enter my appearance as counsel in this case for the _______________________________

             I certify that I am admitted to practice in this Court.


May 5, 2023                                                  Barry L. Gogel            Digitally signed by Barry L. Gogel
                                                                                       Date: 2023.05.04 15:04:07 -04'00'

Date                                                        Signature
                                                             Barry L. Gogel, 25495
                                                            Printed name and bar number

                                                             2002 Clipper Park Rd. Ste. 108, Baltimore, MD 21211


                                                            Address
                                                             bgogel@rwllaw.com
                                                            Email address
                                                             410-769-8080
                                                            Telephone number
                                                             410-469-8811
                                                            Fax number




EntryofAppearanceCivil (08/2015)
